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                                                                                 AU.-^'S-ia DIV;
                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                            20I6JUNI7 PM3:5c
                                 AUGUSTA DIVISION

                                                                         CLERK
                                                                               SO.DiST.OFGA,
UNITED STATES OF AMERICA


V.                                                  I:10cr251


JAMES BOUTTRY,JR.




                                        ORDER




       The Court having considered the Defendant's Motion to Seal filed in this case,hereby

GRANTS the motion and ORDERS that the Defendant's Motion to Seal, Motion to Compel,

and Declaration be SEALED until further order of the Court.

       SO ORDERED this                 of June, 2016.




                                             J. RAND      HALL
                                             UNITED STATES DISTRICT/JUDGE
                                                        ^DISTRICT OF GEORGIA
